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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Criminal No. 3:20-07
VS.

TAMMIE BROLIN,

Defendant

SENTENCING ORDER

AND NOW, this 27" day of September 2022, Defendant, TAMMIE BROLIN,
having entered a plea of guilty on September 26, 2022, to Count Two of the Superseding
Indictment filed at Criminal No. 3:20-07, and in accordance with the Sentencing Reform Act of
1984, 18 U.S.C. § 3551, et seq. (1987) and the Sentencing Guidelines of the United States
Sentencing Commission promulgated under that Act and the Sentencing Commission Act, 28
U.S.C. § 991, et seq.8(1987),

IT IS HEREBY ORDERED that:

1. No later than December 6, 2022, the Probation Office is to forward to the
Defendant and to counsel for the Defendant and for the Government a copy of the tentative
Presentence Report.

2. Counsel should be aware of the provisions set forth in Local Rule 32
concerning Administrative Resolution of disputed facts or factors material to the sentencing. Ifa
party disputes facts or factors material to sentencing contained in the Presentence Report or seeks

the inclusion of additional facts or factors material to sentencing, that party shall have the
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obligation to pursue the administrative resolution of that matter through informal presentence
conferences with opposing counsel and the Probation Office.
a. The party seeking administrative resolution of such facts and factors
shall do so within 2 weeks from the disclosure of the tentative
Presentence Report.
b. No later than 3 weeks after the disclosure of the tentative
Presentence Report, following any good faith efforts to resolve
disputed, or include additional, material facts or factors described
above, the USPO shall notify the attorneys for the Government and the
Defendant of those matters that have, or have not, been administratively
resolved.

3. No later than December 27, 2022, the Probation Office is to forward to this
Court, to the Defendant and to counsel for the Defendant and for the Government a copy of the
Presentence Report, as may be amended.

4. No later than January 3, 2023, the parties each shall file with the Court a
pleading entitled “Position of [Defendant or Government, as appropriate] With Respect to
Sentencing Factors,” pursuant to Fed.R.Crim.P. 32(f) and § 6A1.2(b) of the U.S.S.G. This
pleading shall set forth any objections to the Presentence Report and any anticipated grounds for:
(a) departure from the advisory guideline sentencing range; or, (b) a sentence outside of the
advisory guideline sentencing range, pursuant to the provisions of 18 U.S.C. § 3553(a). The
party’s Position with Respect to Sentencing shall be accompanied by a written statement
certifying that filing counsel has conferred with opposing counsel and with the USPO in a good

faith effort to resolve any disputed matters.
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5. No later than January 17, 2023, the Probation Office shall serve an addendum
which shall set forth any unresolved objections to the Presentence Report, the grounds for those
objections, the responses thereto, and the Probation Office’s comments thereon.

6. This Court will strictly enforce Local Rule 32(C)(1) with respect to disclosure
of any Presentence Report information.

7. No later than January 24, 2023, a party may file supplemental information or
a memorandum with respect to sentencing of the Defendant and shall serve the same upon the
Probation Office. If counsel for the Defendant intends to submit letters to the Court for
consideration at sentencing, said letters should be electronically filed at least seven calendar days
before sentencing. Opposing counsel may file a response to any supplemental information or
memorandum no later than three days before sentencing.

8. Sentencing of Defendant will take place on January 31, 2023, at 2:00 p.m. in

Courtroom — A Johnstown before Judge Kim R. Gibson.

BY THE COURT: |

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KIM R. GIBSON,
UNITED STATES DISTRICT JUDGE

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